     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 1 of 57




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Lead Counsel for Lead Plaintiffs

                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


In re Global Brokerage, Inc. f/k/a FXCM Inc.   Master File No. 1: 17-cv-00916-RA
Securities Litigation
                                               SECOND AMENDED CONSOLIDATED
                                               SECURITIES CLASS ACTION
                                               COMPLAINT

                                               CLASS ACTION

This Document Relates To: All Actions          JURY TRIAL DEMANDED
       Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 2 of 57




         Lead Plaintiffs 683 Capital Partners, LP and Shipco Transport Inc. and named plaintiffs

Sergey Regukh and Brian Armstrong (“Plaintiffs”), individually and on behalf of all other

persons similarly situated, by Plaintiffs’ undersigned attorneys, for Plaintiffs’ second amended

consolidated complaint against Defendants (defined below), alleges the following based upon

personal knowledge as to Plaintiffs and Plaintiffs’ own acts, and upon information and belief as

to all other matters based on the investigation conducted by and through Plaintiffs’ attorneys,

which included, among other things, a review of Securities and Exchange Commission (“SEC”)

filings by Global Brokerage, Inc., f/k/a FXCM Inc. (“FXCM” or the “Company”)1, the

Commodity Futures Trading Commission (“CFTC”)’s Order Instituting Proceedings Pursuant to

Sections 6(c) and 6(d) of the Commodity Exchange Act, Making Findings, and Imposing

Remedial Sanctions dated February 6, 2017 (“CFTC Order”) which is attached hereto as Exhibit

1 and incorporated by reference herein, the National Futures Association (“NFA”)’s complaint

dated February 6, 2017 (“NFA Complaint”) attached hereto as Exhibit 2 and incorporated by

reference herein, documents received in response to a Freedom of Information Act request to the

CFTC, as well as media and analyst reports about the Company. Plaintiffs believe that

substantial evidentiary support will exist for the allegations set forth herein after a reasonable

opportunity for discovery.

                                  NATURE OF THE ACTION

         1.     This is a federal securities class action on behalf of a class consisting of all

persons and entities who purchased or otherwise acquired publicly traded FXCM securities,

including FXCM 2.25% Convertible Senior Notes due 2018 (the “FXCM Notes”) and Class A

common stock from March 15, 2012 to February 6, 2017, both dates inclusive (the “Class

1
    Included in these definitions are FXCM’s subsidiaries.



                                                 1
      Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 3 of 57




Period”).2 Plaintiffs seek to recover compensable damages caused by Defendants’ violations of

federal securities laws and pursue remedies under the Securities Exchange Act of 1934 (the

“Exchange Act”).

        2.      During the Class Period, FXCM knowingly misled investors in the Company’s

periodic reports filed with the SEC and other public statements by falsely claiming that its

customers who transacted on FXCM’s “No Dealing Desk” (“NDD”) platform would be free

from conflicts of interest because FXCM would not be on the other side of the trade or have any

financial interest in the trade.

        3.      According to FXCM, retail customers’ profits or losses would have no effect on

FXCM’s interests, because FXCM’s role was merely as an agent or credit intermediary. FXCM

explained that customer trades would be directed to banks and other independent “market

makers” that provided liquidity to the platform.

        4.      FXCM’s purported lack of conflict of interest was extremely material and a

centerpiece to their trading platform and marketing efforts. Indeed throughout the Class Period,

Defendants acknowledged that this conflicts-free business model was a “core” philosophy of the

Company.

        5.      Despite the Company’s claims of having no conflicts of interest for its retail

customers trading on the NDD platform, FXCM in fact had an undisclosed financial interest in

the market maker that consistently “won” the largest share of FXCM’s NDD trading volume,



2
    Excluded from the Class are all (i) Defendants; (ii) current and former officers, employees,
consultants and directors of FXCM and FXCM Holdings, LLC; (iii) siblings, parents, children,
spouses, and household members of any person excluded under (i) and (ii); and (iv) any entities
affiliated with, controlled by, or more than 5% owned by, any person excluded under (i) through
(iii); and (v) the legal representatives, heirs, successors or assigns of any person excluded under
(i) through (iv).



                                                   2
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 4 of 57




Effex Capital, LLC (“Effex”). Effex was essentially a front created by FXCM, allowing for

FXCM to hold positions opposite its customers and financially benefit at its customers’

expense—in direct contravention to the Company’s representations to investors and its own

customers of conflict free trading on the NDD.

       6.     Effex was an FXCM-backed startup firm that was dreamed up, created, and

financed by FXCM.

       7.     In 2009, FXCM hired John Dittami (“Dittami”), a high frequency trader, to

develop a trading algorithm to replace or supplant many of the independent market makers on

FXCM’s NDD platform, secretly trading against FXCM’s customers.             Part of Dittami’s

compensation was 30% of his trading profits using this algorithm on FXCM’s platform. Dittami

completed the new algorithmic trading system in early 2010.

       8.     Leading up to FXCM’s initial public offering in 2010, FXCM’s compliance

department recognized that this trading algorithm directly contravened FXCM’s “conflict-free”

agency model. In light of these concerns, FXCM was forced to restructure its relationship with

Dittami. Together with Dittami, FXCM created Effex as a separate stand-alone company to

operate the new algorithmic trading system in order to conceal FXCM’s economic interest in

Effex from customers, regulators and investors.

       9.     FXCM incorporated and funded Effex and installed Dittami at the helm, but

continued to own the trading system, finance the business, and most importantly, maintain its

70% interest in Effex’s trading profits through thinly-veiled contractual arrangements. Effex

even operated out of FXCM’s offices rent-free for the first year of its existence and had two

FXCM employees dedicated to working for Effex.




                                                  3
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 5 of 57




       10.     Contrary to its public statements, FXCM manipulated its NDD platform by

putting Effex in front of independent market makers in routing retail customer orders while also

permitting Effex to win all “ties” with other market makers. FXCM provided Effex with a real-

time view of price quotations offered by other market makers, and added smaller markups to

Effex prices than to prices provided by other market makers. This way FXCM ensured that the

bulk of its order flow would go to Effex and generate profits for FXCM.

       11.     This undisclosed arrangement was very lucrative for FXCM, as FXCM earned

70% of Effex’s trading profits. Effex’s payments to FXCM were disguised as “order flow”

payments, which no other market maker was making to FXCM. These kickbacks amounted to

nearly $80 million between 2010 and 2014.

       12.     During the Class Period, FXCM’s quarterly and annual reports misrepresented

that FXCM had no interest in the trades executed on its NDD platform and therefore there were

no conflicts of interest between FXCM and its customers who traded on the NDD platform.

       13.     FXCM’s financial statements violated SEC regulations and Generally Accepted

Accounting Principles (“GAAP”) for failing to disclose FXCM’s economic interest in,

contractual and related party relationship with, and control over, Effex during the Class Period.

Given that FXCM was entitled to 70% of Effex’s profits, FXCM was required to (but did not)

consolidate Effex’s operations as a variable interest entity. Alternatively, even if Effex were not

required to be consolidated, it was still a related party to FXCM and therefore, FXCM was

required to (but did not) disclose the related party nature of the business relationship and the

amount of profits FXCM was earning from Effex.




                                                4
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 6 of 57




       14.    As a result of FXCM’s failure to properly account for its arrangements with

Effex, all of FXCM’s financial statements issued during the Class Period were false and

misleading.

       15.    FXCM knew it was under investigation by the CFTC and NFA as early as

October 2014, when the CFTC sent FXCM a Request for Production seeking documents

concerning Effex’s relationship with FXCM. In 2015 FXCM received preservation notices from

the CFTC and the NFA as to documents relating to Effex and Dittami, and their relationship with

FXCM, noting the agencies’ “ongoing” review. Later that year the CFTC issued a subpoena to

Niv to testify and produce documents on the same subject, and FXCM executed a tolling

agreement with the CFTC. FXCM failed to fully disclose these highly material investigations at

any point during the Class Period, rendering certain of its SEC filings materially false and

misleading.

       16.    On February 6, 2017, the CFTC announced in a press release and accompanying

Order that it had settled charges against FXCM and its two founders, Defendants Niv and

Ahdout. The CFTC found that FXCM engaged in false and misleading solicitations of its retail

foreign exchange (“forex”) customers by concealing FXCM’s relationship with its most

important market maker, by misrepresenting that its NDD platform had no conflicts of interest

with its customers, and by, essentially, cheating customers through dishonest trade execution.

The Settlement imposed a civil penalty of $7 million and banned the Company from operating in

the U.S.

       17.    This announcement shocked the market and caused the price of FXCM’s

securities to lose more than half of their value, damaging FXCM investors.




                                               5
      Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 7 of 57




                                 JURISDICTION AND VENUE

       18.     The claims asserted herein arise under and pursuant to Sections 10(b) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder (17

C.F.R. § 240.10b-5).

       19.     This Court has jurisdiction over the subject matter of this action pursuant to

Section 27 of the Exchange Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331.

       20.     Venue is proper in this judicial district pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1391(b) as Defendants conduct business in this judicial

district and the Company is headquartered in this judicial district.

       21.     In connection with the acts, conduct and other wrongs alleged herein, Defendants

either directly or indirectly used the means and instrumentalities of interstate commerce,

including but not limited to the United States mails, interstate telephone communications, and

the facilities of the national securities exchange.

                                             PARTIES

       22.     Lead Plaintiffs 683 Capital Partners, LP and Shipco Transport Inc. purchased

FXCM securities at artificially inflated prices during the Class Period and were damaged upon

the revelation of the alleged corrective disclosures as set forth in their PSLRA certifications

previously filed with the Court that are incorporated by reference herein.

       23.     Named Plaintiffs Sergey Regukh and Brian Armstrong, purchased FXCM

securities at artificially inflated prices during the Class Period and were damaged upon the

revelation of the alleged corrective disclosures as set forth in their PSLRA certifications.

Regukh’s certification was previously filed with the Court and is incorporated by reference

herein. Armstrong’s certification is filed herewith and incorporated by reference.




                                                      6
      Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 8 of 57




       24.     Defendant Global Brokerage, Inc., formerly known at all relevant times as

FXCM, is a Delaware corporation headquartered in New York, New York, which provides

online forex trading and related services to retail and institutional customers worldwide through

its subsidiaries. FXCM is a holding company and its only material asset is a controlling interest

in FXCM Holdings, LLC (“Holdings”).

       25.     FXCM’s Class A common stock was traded on the New York Stock Exchange

(“NYSE”) under the ticker “FXCM” from the beginning of the Class Period through September

23, 2016. Beginning September 26, 2016, the Company’s securities traded on the NASDAQ

under the symbol “FXCM” until February 27, 2017, when the Company changed its name to

Global Brokerage, Inc. and adopted the ticker symbol “GLBR.” On December 11, 2017, FXCM

filed a Chapter 11 voluntary petition for bankruptcy and prepackaged plan of reorganization in

the United States Bankruptcy Court, Southern District of New York. Global Brokerage, Inc., No.

1:17-bk-13532 (Bankr. S.D.N.Y. Dec. 11, 2017). On January 22, 2018, the prepacked Chapter 11

plan was approved by the bankruptcy court with an effective date of February 8, 2018.

       26.     Defendant Dror Niv was Chairman of the Board of Directors of FXCM since

2010, and served on the board of FXCM’s predecessor, FXCM Holdings, since 1999. Mr. Niv

was the Chief Executive Officer of FXCM since 1999 until his resignation after the Class Period

and is one of the original founding partners of the firm.

       27.     Defendant William Ahdout was a director of FXCM since 2010, and served on

the board of Holdings since 1999. Mr. Ahdout was with FXCM since 1999, was its Chief Dealer

and a Managing Director and was one of the original founding partners of the firm.

       28.     FXCM went public in an initial public offering (“IPO”) in December 2010.

       29.     Prior to the IPO, Niv, Ahdout, David Sakhai and Eduard Yusupov (“Controlling




                                                 7
       Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 9 of 57




Partners”) owned FXCM’s predecessor, Holdings.

         30.   Through the IPO, Holdings became a subsidiary of FXCM. FXCM owned

Holdings, which in turn owned all of FXCM’s operating subsidiaries, including FXCM’s U.S.

subsidiary.

         31.   Immediately following the IPO and thereafter, the Controlling Partners owned

and controlled the equity of FXCM in the following proportions:

                                 % of FXCM           # Shares     % of FXCM
               # Shares as of    Shares as of          as of      Shares as of
                 1/1/2011           1/1/2011        4/15/2014      4/15/2014
    Niv            8,894,900         11.80%           8,752,686       10.70%
    Ahdout         5,690,685          7.60%           2,959,119        3.60%
    Sakhai         6,013,990            8.0%          5,917,649        7.30%
    Yusupov        7,898,971         10.50%           4,933,356        6.10%
    Total         28,498,546          37.9%         22,562,810         27.7%

         32.   Following the IPO, the Controlling Partners continued to own stakes in Holdings

called “Holdings Units” which were convertible to Class A common shares on a one to one

basis.3 The Controlling Partners were also entitled to voting Class B shares of FXCM that

allowed them voting rights on a one to one basis with Class A common shares based on the

number of Holdings Units they owned. Thus, the Controlling Partners were able to exercise

voting power at FXCM, the managing member of Holdings, at a level consistent with their

overall equity ownership of FXCM.

         33.   Defendant Robert Lande (“Lande”) was the Company’s Chief Financial Officer

(“CFO”) at all relevant times during the Class Period.



3
   FXCM claimed that the Controlling Founders held their FXCM equity interests in Holdings
for tax reasons - because it was not taxable as a corporation for United States federal income tax
purposes.




                                                8
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 10 of 57




       34.       Defendants Niv, Lande, and Ahdout are collectively referred to herein as the

“Individual Defendants.”

       35.       Collectively, Defendant FXCM and the Individual Defendants are herein referred

to as “Defendants.”

       36.       Each of the Individual Defendants:

                 a.     directly participated in the management of the Company;

                 b.     was directly involved in the day-to-day operations of the Company at the

                        highest levels;

                 c.     was privy to confidential proprietary information concerning the Company

                        and its business and operations;

                 d.     was directly or indirectly involved in drafting, producing, reviewing

                        and/or disseminating the false and misleading statements and information

                        alleged herein;

                 e.     was directly or indirectly involved in the oversight or implementation of

                        the Company’s internal controls;

                 f.     was aware of or recklessly disregarded the fact that the false and

                        misleading statements were being issued concerning the Company; and/or

                 g.     approved or ratified these statements in violation of the federal securities

                        laws.

       37.       FXCM is liable for the acts of the Individual Defendants and its employees under

the doctrine of respondeat superior and common law principles of agency as all of the wrongful

acts complained of herein were carried out within the scope of their employment with

authorization.




                                                 9
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 11 of 57




       38.     The scienter of the Individual Defendants and other employees and agents of the

Company is similarly imputed to FXCM under respondeat superior and agency principles.

                              SUBSTANTIVE ALLEGATIONS4

                                     Industry Background

       39.     The forex market is the largest and most actively traded financial market in the

world, with global forex trading averaging trillions of dollars per day. Trading in the forex

market is primarily done over-the-counter (“OTC”) directly with a counterparty.

       40.     Spot transactions are the exchange of one currency for another. The forex market

revolves around spot transactions because spot rates are the foundation for pricing all forex

instruments. In the forex market, these transactions occur OTC rather than through a central

exchange. As a result, these transactions are reliant on a financial institution or “market maker,”

who provides liquidity to the market by acting as a dealer willing to continuously buy and sell

currencies.

       41.     Despite its size and importance, the forex market is one of the world’s least

regulated financial markets as most transactions occur OTC, away from regulation and scrutiny

by the exchanges. Thus the reputation of the market participants is extremely material to

investors. There is also no centralized exchange or institution that collects and posts real-time

trade information for the OTC market. Instead, these transactions occur on proprietary dealing

platforms that match market makers with buyers, with real-time order flow and data often closely




4
  The substantive allegations are drawn from, among other things, the Company’s periodic
reports filed with the SEC, its public statements, the CFTC Order, the NFA Complaint,
documents received in response to a Freedom of Information Act request to the CFTC,
information available on the internet and witness identified herein.



                                                10
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 12 of 57




guarded. This substantially limits knowledge of traders’ conduct inside these dealing platforms

or information among the market makers themselves as to each other’s doings.

                                          The Company

       42.      FXCM, founded in 1999, recently described itself in the Company’s 2016 10-K

(defined below) as “an online provider of foreign exchange (“FX”) trading and related services,”

that offers its customers access to OTC forex markets and a “proprietary technology platform.” .

As of December 31, 2016, FXCM had over 178,000 active retail customer accounts globally. Id.

       43.      Until approximately 2007, FXCM provided liquidity to its retail forex customers

primarily through an internal “dealing desk” - a division of FXCM that determined the prices

offered to customers and held positions opposite customers.

       44.      In or around 2007, FXCM transitioned from using a dealing desk to what it

termed an “agency” model for most of its retail forex customers, which it described to customers

as providing NDD forex trading.

       45.      Whereas a dealing desk broker acts as a market maker and may be trading against

the customer’s position, FXCM touted that its agency model eliminated that conflict of interest.

In FXCM’s agency model, price quotations were provided not by FXCM’s internal dealing desk,

but by banks and other third-party market makers.         FXCM was merely acting as a credit

intermediary who simultaneously entered into offsetting trades with both the customer and the

market maker.

       46.      FXCM purportedly made money from its NDD platform through the bid/ask

spread, adding a small markup to the bid/ask quotes received from its customers and liquidity

providers and keeping that amount for itself as a fee for executing the offsetting transactions.




                                                 11
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 13 of 57




       47.     Under this agency execution model, FXCM supposedly gave its retail clients

access to buy and sell prices streamed directly from over a dozen liquidity providers

anonymously, so that its retail clients’ orders were invisible to these price providers. The

Company touted this model as a trading environment free of price manipulation and conflicts of

interest, a highly appealing platform for OTC forex trading.

       48.     This agency model was the centerpiece of FXCM’s trading platform and

marketing efforts.

               FXCM Creates Its Own, Secret Market Maker; Reaps Millions

       49.     In 2009, Defendants Niv, Ahdout and others at FXCM devised a plan to take

advantage of FXCM’s NDD clients through the use of a high frequency trading algorithm. This

algorithm would completely replace or supplant many of the independent market makers on the

NDD platform and allow FXCM to cash in twice on its customers (first from its mark-ups, then

from its kickback) while providing a purportedly conflict-free trading platform.

       50.     To this end, Niv and Ahdout hired a high-frequency trader, Dittami, for a

Managing Director position at the Company in October 2009. Dittami was hired to create a new

algorithmic trading system. FXCM gave Dittami an employment contract promising him 30% of

any profits generated by the new algorithmic trading system. In early 2010, Dittami used the

startup capital provided by FXCM (approximately $2-3 million) to hire a company called First

Derivatives to construct the trading algorithm.

       51.     Under Dittami’s employment agreement, FXCM paid Dittami a base salary plus

30 percent of trading profits generated by the trading algorithm.        FXCM would keep the

remaining 70 percent of trading profits.




                                                  12
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 14 of 57




       52.     In early 2010, Dittami was finalizing the trading algorithm as the Company was

gearing up for its initial public offering. FXCM’s compliance department voiced concerns that

trading against FXCM’s retail customers would contradict FXCM’s marketing statements about

its NDD model, which was supposedly free of precisely such conflicts of interest.

       53.     In response, FXCM restructured its relationship with Dittami to disguise this

glaring conflict of interest. It spun off Dittami’s trading system as an “external” or “independent”

market maker for FXCM, solely for the purpose of falsely creating the appearance of an

independent entity that was not owned or controlled by FXCM. On March 23, 2010 the new

company, Effex, was created under the direction of Niv and FXCM.

       54.     To further create the false impression of separation, Dittami “resigned” from

FXCM on April 14, 2010, but Dittami and FXCM agreed that his resignation would not change

their economic relationship, including FXCM retaining 70% of Dittami’s (now Effex’s)

algorithmic trading profits. FXCM also continued to own the intellectual property rights to the

algorithmic trading platform’s software.

       55.     As part of the scheme, Effex entered so-called services agreements with FXCM

by which Effex would make monthly payments to FXCM of $21 per million dollars of trading

volume executed by Effex. Dittami and FXCM management estimated that Effex could make

about $30 per $1 million notional traded on the FXCM platform. $21 per million dollars of

trading volume roughly corresponded to the 70-30 split in the initial pre-IPO agreement between

FXCM and Dittami. Thus FXCM intended this amount to approximate 70 percent of Effex’s

profits from trading on FXCM’s retail forex platform against FXCM’s retail customers. No such

agreements were entered into with FXCM and any of it independent market makers.




                                                13
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 15 of 57




                          FXCM’s Control of and Material Interest in Effex

       56.     In conjunction with Effex’s formation, FXCM funded Effex with a $2 million

interest-free loan and allowed Effex to use FXCM’s prime brokerage relationship with Citi.

Effex lacked the capital to post the necessary collateral with Citi for its own prime brokerage

account, and this arrangement remained in place until Effex made enough capital to establish its

own prime brokerage account. Thus, without FXCM’s funding and permission to use FXCM’s

prime brokerage, Effex could not operate.

       57.     When Dittami “resigned” from FXCM and “moved” to Effex, he continued

working from FXCM’s offices rent-free. In fact, Effex operated from FXCM’s offices in New

York for a full year after Dittami’s resignation from FXCM. As scrutiny surrounding FXCM's

NDD trading platform increased, Effex moved into a windowless office at FXCM, out of way of

traffic from the trading floor and strategically located to hide Effex’s operations from regulators.

Eventually, Effex moved off-site to hide the fact that its operations were jointly run with FXCM.

       58.     Effex used FXCM’s trading algorithm – created for FXCM by Dittami when he

worked for the Company – to conduct its trading. For a period of time Effex even used FXCM’s

servers and email systems. Effex maintained access to the same server as FXCM, so all trading

information that passed through FXCM also passed through Effex. This meant Effex could see in

real time which market makers or retail investors were bidding or offering on FXCM’s platform,

at what price and amounts. Effex personnel were even given access to FXCM on-site computers

through a virtual private network.

       59.     Internally at FXCM, Effex was considered part of the trading operation. From

2010 to at least 2014, FXCM gave bonuses, reimbursed by Effex, to two FXCM employees who

assisted Effex on account of their work for the purportedly “independent” market maker. From




                                                14
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 16 of 57




2010 to 2014, one of the employees spent approximately 80 percent of the work week at Effex’s

offices. In short, Effex was no more than a hidden subsidiary of FXCM.

       60.     None of FXCM’s market makers were provided such funding, employees, office

space, access and favorable treatment set forth in ¶¶ 56-59, above.

       61.     To further create the false impression of an independent entity, FXCM and Effex

entered into a services agreement, whereby FXCM sent Effex monthly invoices for “order flow,”

which were to be paid by Effex to FXCM Holdings, a holding company owned by FXCM which

in turn owned FXCM’s U.S. subsidiary. Through August 2011, Effex paid $21 per million

notional volume transacted by Effex on the FXCM retail forex platform. These payments were

adjusted to $16 per million from September 2011 through July 2014 due to tightening spreads in

the forex market that reduced Effex’s profits. This reduction was intended to compensate for

Effex’s lower profitability and to maintain the agreed upon 70% / 30% division of profits

between FXCM and Effex.

       62.     From 2010 through the end of the Class Period, no market maker besides Effex

paid FXCM for "order flow.” In truth, these payments were not order flow payments, but rather

pre-negotiated kickbacks of FXCM’s cut of profits generated by Effex from trading against

FXCM’s retail customers on the NDD platform.

       63.     FXCM even viewed Effex’s trading profits and losses (“P&L”) as its own, less

Effex’s 30 percent share—just as it did when FXCM employed Dittami and split his trading

profits 70/30. Indeed, FXCM calculated its monthly preliminary P&L statement, in part, by

taking Effex’s monthly P&L and simply subtracting 30 percent. For a period of time following

its formation, Effex reported its P&L to FXCM on a weekly basis. As CFO, Lande was well




                                                15
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 17 of 57




aware of this method of calculation. Lande was also aware that the invoices FXCM sent Effex

seeking its 70% share of Effex’s profits described the amounts billed as “P&L.”

       64.     FXCM directed Effex to remit these payments to FXCM Holdings rather than

FXCM’s U.S. subsidiary. FXCM Holdings was not a member of the NFA, so these payments

were an effort by FXCM to avoid the NFA’s scrutiny over these dealings. These unusual

payments to FXCM Holdings, totaling approximately $77 million, would have raised a red flag

for Lande as CFO.

       65.     In exchange for these payments from Effex, FXCM agreed that it would favor

Effex over other market makers in routing retail customer orders. FXCM permitted Effex to win

all “ties” with other market makers; provided Effex with a real-time view of price quotations

offered by other market makers; and added smaller markups to Effex’s prices than to prices

provided by other market makers. This gave Effex a significant leg up on the truly external and

independent market makers trading on FXCM’s platform.

       66.     In addition to favoring Effex over other market makers, FXCM allowed Effex to

use a hold timer that enabled Effex to execute a trade at the start or end of a hold timer period,

whichever was better for Effex. This asymmetrical price slippage practice deprived FXCM’s

customers of positive price improvements while giving customers negative price slippage, all to

the benefit of Effex.

       67.     Effex also used a “previous quote” practice whereby Effex submitted a quote to

FXCM and FXCM would respond with an execution request based on the trading limits

contained in a customer limit order, not the previous quote provided by FXCM. This way Effex

was using FXCM’s inside knowledge of a customer’s least favorable acceptable trade quote to

ensure that it was getting the most favorable end of the bargain.




                                                16
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 18 of 57




       68.      As a consequence of this special, secret relationship between FXCM and Effex,

the profitability of other market makers is reduced through unfair competition and liquidity is

reduced on the FXCM platform. This harms retail customers directly, and the concentration of

revenue from one market maker was not disclosed to shareholders or investors.

       69.      On the same day Dittami “resigned” from FXCM, his trading algorithm was used

in a “full-scale trading session” for the very first time. Based on the trading that day, FXCM

anticipated that Effex would capture approximately 25-30% of overall trade volume on FXCM’s

NDD Platform – well above the market share Effex would have expected to capture in any other

forex market.

       70.      Not surprisingly, Effex routinely captured over 50% of FXCM’s daily order flow

and, at one time, captured nearly 80%. FXCM management considered this number too high to

provide the illusion of a legitimate market, so FXCM directed Effex to limit itself to only 45-

50% of the trading volume on FXCM’s platform. All told, from 2010 through 2014 Effex

rebated to FXCM nearly $80 million of Effex’s trading revenue through its monthly payments to

FXCM.

       71.      The bulk of Effex’s revenues were earned in transactions through FXCM.

However, Effex was only able to profitably transact with other ECN’s because of the pricing and

order information that FXCM secretly provided to Effex. Thus, Effex was wholly dependent on

FXCM.

       72.      Additionally, according to a former employee who worked in FXCM’s

headquarters in New York as a Client Relationship Manager from May 2014 to June 2015, and

before that as Operations Associate from June 2009 to May 2014, “Niv, Ahdout, to a lesser

extent, CFO Robert Lande had control over Effex Capital.”




                                              17
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 19 of 57




       73.      Upon information and belief, FXCM maintained its relationship with Effex into

2017. The CFTC Order indicates that the secret relationship lasted “through at least 2014.”

FXCM stated that it stopped receiving payments for order flow as of August 1, 2014, but that

date is irrelevant because (1) FXCM never received order flow payments from any market

makers; (2) the payments from Effex were not order flow payments but rather disguised profit-

sharing payments; and (3) FXCM listed Effex on its website as a liquidity provider as late as

January 2017 – indicating that the relationship had been maintained beyond 2014 even if the

sham “order flow” payments had ceased by that point. In light of these facts, Plaintiffs believe

that evidence showing the extent of FXCM’s relationship with Effex after 2014 exists but is

uniquely within Defendants possession.

             Regulators Investigate and Take Action; FXCM Securities Prices Tank

       74.      On or about October 15, 2014, the CFTC sent FXCM a Request for Production of

Documents seeking documents and information concerning “Effex’s business and/or financial

relationship with FXCM, including, but not limited to, Effex’s relationship as a liquidity provider

to FXCM.”

       75.      On or about February 19, 2015, the NFA send a letter to FXCM (“NFA

Preservation Notice”) instructing the Company to preserve all documents concerning Effex,

Dittami or related entities. The letter noted, “[a]s you know, NFA has been conducting a review

of FXCM's relationship with Effex and John Dittami” and that “the review is ongoing.”

       76.      On or about July 2, 2015, the CFTC sent a letter to FXCM (“CFTC Preservation

Notice”) instructing the Company to preserve documents “relating to Effex, the creation of

Effex, Effex's operation, and/or financial relationship with FXCM, and Effex's role as a liquidity

provider and/or market maker to FXCM.”




                                                18
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 20 of 57




       77.     On or about August 13, 2015, the CFTC issued a subpoena to Niv to testify and

produce documents in the matter of “Retail Forex Fraud.” The subpoena sought, among other

things, documents concerning FXCM's business and/or financial relationship with Effex,

including, but not limited to, Effex's relationship as a liquidity provider to FXCM.”

       78.     On or about September 18, 2015, FXCM executed a tolling agreement with the

CFTC Division of Enforcement (“CFTC Tolling Agreement”). The agreement stated that “the

Division has notified FXCM, through its counsel that the Division is conducting an investigation

to determine whether there have been violations of certain provisions of the Commodity

Exchange Act and/or Commodity Futures Trading Commission Regulations.”

       79.     On February 6, 2017, the CFTC announced that it banned the Company from

operating in the U.S. after finding that FXCM was taking undisclosed positions opposite its retail

customers, stating in part:

       RELEASE: pr7528-17

       February 6, 2017

       CFTC Orders Forex Capital Markets, LLC (FXCM), Its Parent Company,
       FXCM Holdings, LLC and FXCM’s Founding Partners, Dror Niv and
       William Ahdout, to Pay a $7 Million Penalty for FXCM’s Defrauding of
       Retail Forex Customers

       FXCM, Niv, and Ahdout are Prohibited from Registering with the CFTC,
       Acting in Exempt Capacities or Acting as Principals, Agents, Officers or
       Employees of Registrants

       CFTC’s Order also holds FXCM, Niv, and FXCM Holdings responsible for
       FXCM’s False Statements to the National Futures Association

       Washington, DC – The U.S. Commodity Futures Trading Commission (CFTC)
       today issued an Order filing and settling charges against Forex Capital Markets,
       LLC (FXCM) , its parent company, FXCM Holdings, LLC (FXCM Holdings),
       and two founding partners, Dror (“Drew”) Niv, and William Ahdout, who were,
       respectively, Chief Executive Officer of FXCM and Managing Director of




                                                19
Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 21 of 57




 FXCM, (collectively, Respondents). FXCM’s principal place of business is New
 York, New York; Niv resides in Connecticut; and Ahdout resides in New York.

 The CFTC Order finds that, between September 4, 2009 though at least 2014
 (the Relevant Period), FXCM engaged in false and misleading solicitations of
 FXCM’s retail foreign exchange (forex) customers by concealing its
 relationship with its most important market maker and by misrepresenting that
 its “No Dealing Desk” platform had no conflicts of interest with its customers.
 The Order finds FXCM, FXCM Holdings, and Niv responsible for FXCM
 making false statements to the National Futures Association (NFA) about its
 relationship with the market maker.

 The Order requires Respondents jointly and severally to pay a $7 million civil
 monetary penalty and to cease and desist from further violations of the
 Commodity Exchange Act and CFTC Regulations, as charged. FXCM, Niv, and
 Ahdout agree to withdraw from CFTC registration; never to seek to register with
 the CFTC; and never to act in any capacity requiring registration or exemption
 from registration, or act as a principal, agent, officer, or employee of any person
 that is registered, required to be registered, or exempted from registration with the
 CFTC.

 “The CFTC Is Committed to Protecting Customers from Harm in the
 Markets It Regulates”

 “Full and truthful disclosure to customers and honest discourse with self-
 regulatory organizations such as NFA are vital to the integrity and oversight of
 our markets,” said Gretchen L. Lowe, Principal Deputy Director and Chief
 Counsel of the CFTC’s Division of Enforcement. “Today’s action’s demonstrates
 that the CFTC is committed to protecting customers from harm in the markets it
 regulates.”

 FXCM is registered with the CFTC as a Futures Commission Merchant and Retail
 Foreign Exchange Dealer. FXCM has been providing retail customers with access
 to over-the-counter forex markets through a proprietary technology platform and
 has acted as counterparty in transactions with its retail customers in which
 customers can buy one currency and simultaneously sell another. Both Niv and
 Ahdout were CFTC registrants during the relevant period.

 FXCM, under Niv’s and Ahdout’s direction and control, misrepresented to its
 retail forex customers that when they traded forex on FXCM’s No Dealing Desk
 platform, FXCM would have no conflict of interest, the Order finds. In addition,
 according to FXCM’s marketing campaign, retail customers’ profits or losses
 would have no impact on FXCM’s bottom line, because FXCM’s role in the
 customers’ trades was merely that of a credit intermediary, the Order finds.
 FXCM further represented that the risk would be borne by banks and other




                                          20
Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 22 of 57




 independent “market makers” that provided liquidity to the platform, according to
 the Order.

 FXCM’s Undisclosed Interest

 Contrary to these representations, the Order finds, FXCM had an undisclosed
 interest in the market maker that consistently “won” the largest share of
 FXCM’s trading volume – and thus was taking positions opposite FXCM’s
 retail customers. FXCM, the Order finds, formulated a plan in 2009 to create an
 algorithmic trading system, using an FXCM computer program that could make
 markets to FXCM’s customers, and thereby either replace or compete with the
 independent market makers on FXCM’s “No Dealing Desk” platform. Although
 FXCM eventually spun off the algorithmic trading system as a new company, in
 actuality the company remained closely aligned with FXCM, according to the
 Order. This market maker received special trading privileges, benefitted from a
 no-interest loan provided by FXCM, worked out of FXCM’s offices, and used
 FXCM employees to conduct its business, the Order further finds.

 The Order finds that FXCM and the market maker agreed that the market maker
 would rebate to FXCM approximately 70 percent of its revenue from trading on
 FXCM’s retail forex platform. In total, through monthly payments from 2010
 through 2014, the company rebated to FXCM approximately $77 million of the
 revenue it achieved. However, FXCM did not disclose to customers, among other
 things, that this company – FXCM’s principal market maker – was a startup firm
 spun off from FXCM, the Order further finds.

 False Statements to the NFA

 The Order also finds that FXCM willfully made false statements to NFA in
 order to conceal FXCM’s role in the creation of its principal market maker as
 well as the fact that the market maker’s owner had been an FXCM employee
 and managing director. The Order finds that during a meeting between NFA
 compliance staff and FXCM executives, Niv omitted to mention to NFA the
 details of FXCM’s relationship with the market maker.

 The Order holds Niv and Ahdout liable for FXCM’s fraud violations as
 “controlling persons” who were responsible, directly or indirectly, for FXCM’s
 violations. Niv is also held liable for FXCM’s false statements to NFA as a
 controlling person who was responsible directly or indirectly for those
 violations. FXCM Holdings is held liable for FXCM’s fraud and false statement
 violations as principal of FXCM, the Order also finds.

 The CFTC thanks NFA for its assistance in this matter.




                                        21
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 23 of 57




       CFTC Division of Enforcement staff members responsible for this action are
       Christopher Giglio, Patrick Daly, David C. Newman, Xavier Romeu-Matta, K.
       Brent Tomer, Lenel Hickson, Jr., and Manal M. Sultan.

       Media Contact
       Dennis Holden
       202-418-5088

(Emphasis added).

       80.     On the same day, the NFA’s Business Conduct Committee issued a complaint

(Exhibit 2) and entered an order against FXCM, Niv, Ahdout, and Niv’s sister, Ornit Niv. The

Business Conduct Committee made factual findings that the Defendants committed the

violations alleged in the complaint, including that FXCM’s NDD execution model was corrupted

by the Company’s control and relationship with Effex, and ordered that FXCM and the

individual defendants be withdrawn from NFA membership and forever barred from reapplying.

       81.     The Company also issued a press release on February 6, 2017, disclosing the

settlements with the NFA and CFTC and announcing that the Company would withdraw from

doing business in the U.S., pursuant to the CFTC’s order, and sell its U.S. customer accounts to

GAIN Capital Holdings, Inc. (“GAIN”).

       82.     On this news, shares of the Company fell $3.40 per share or over 49% from its

previously closing price to close at $3.45 per share on February 7, 2017.

       83.     Likewise the price of FXCM Notes fell 37% on February 7, 2017 from a previous

closing price of $43.698 to close at $27.241 on February 7, 2017.

       84.     FXCM entered into an Asset Purchase Agreement with GAIN for FXCM’s U.S.

accounts on February 7, 2017. The asset sale was completed on February 24, 2017.




                                               22
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 24 of 57




       85.     On February 21, 2017, Defendant Niv resigned as CEO and from the FXCM

board of directors. That same day, FXCM announced its name change to Global Brokerage Inc.,

effective February 27, 2017.

             Defendants Lie to Regulators to Cover Up Their Scheme With Effex

       86.     As a part of FXCM’s ongoing efforts to obscure and conceal its relationship with

Effex, FXCM misled regulators from the NFA. Efforts to cover up wrongdoing are strong

evidence of scienter.

       87.     In connection with the NFA’s 2013 examination of FXCM, NFA compliance staff

met with FXCM executives on October 24, 2013. In response to the NFA’s questions about

FXCM’s relationship with Effex, Niv failed to disclose any of the details described above

concerning FXCM’s relationship with Effex and Dittami. Niv also misrepresented that he had a

prior working relationship with Dittami arising from when Dittami was employed by other

liquidity providers.

       88.     Members of FXCM’s compliance department also made a series of misstatements

to the NFA. On October 22, 2013, an FXCM compliance officer told the NFA in an email:

“FXCM LLC does not have any direct or indirect ownership, interest, or affiliation with entities

that provide liquidity to retail clients....” This statement was false because FXCM had an

undisclosed interest in Effex, one of its market makers, receiving, among other things,

approximately 70% of Effex’s profits.

       89.     After the NFA sought clarification of this statement, another FXCM compliance

officer stated in a March 24, 2014 email: “To my knowledge, there are no present or past owners,

principals, APs, or employees of affiliates of FXCM LLC that have direct or indirect ownership,

interest, or affiliation with entities that provide liquidity to retail clients on our No Dealing Desk




                                                 23
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 25 of 57




Model.” This statement was false because, again, FXCM had an undisclosed interest in Effex,

who was one of its market makers for clients on FXCM’s NDD platform.

       90.       On April 4, 2014, in response to further attempts by the NFA to clarify the

FXCM-Effex relationship, Janelle Lester, FXCM’s Chief Compliance Officer, stated in an email

that Dittami served as a consultant for FXCM from October 2009 through April 2010, working

primarily on software coding—in an attempt to downplay Dittami in connection with NFA’s

inquiry into FXCM’s relationship with Effex. In truth, Dittami was employed by FXCM and

maintained his financial relationship with FXCM through the sham agreement with Effex.

       91.       Niv also participated in and approved of FXCM’s false responses to the NFA’s

investigation.

       92.       As the CFTC noted, “FXCM personnel had full knowledge of the representations

that the firm was making to its customers about the No Dealing Desk model, as well as the facts

about [Dittami] and [Effex]'s relationship with FXCM.”

         The Individual Defendants Knew of, and Directed, the Fraudulent Scheme

       93.       In 2009, Niv and Ahdout, along with others at FXCM, devised the plan to develop

a high-frequency trading algorithm to secretly trade against FXCM’s retail customers on

FXCM’s purportedly conflict-free platform.

       94.       In furtherance of their plan, Niv and Ahdout hired Dittami to a Managing Director

position at the Company in October 2009. Niv and Ahdout tasked Dittami with developing the

new algorithmic trading system, promising Dittami 30% of any profits generated by the trading

system he would create for FXCM (on top of a base salary). The Company also provided

Dittami with $2-3 million in startup capital, which Dittami used to outsource construction of the

trading algorithm.




                                                24
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 26 of 57




       95.    In early 2010, as the Company prepared for its initial public offering, FXCM’s

compliance department voiced concerns over trading against FXCM’s retail customers, as this

conflict would contravene FXCM’s NDD model.

       96.    In response, Niv restructured FXCM’s relationship with Dittami by spinning off

Dittami’s trading system as an “independent” market maker. On March 23, 2010, Niv helped

oversee the creation of the new company, Effex.

       97.    Dittami “resigned” from FXCM on April 14, 2010, but Niv and Dittami crafted

so-called services agreements by which Effex would make monthly payments to FXCM

calculated to approximate the same 70-30 split from Dittami’s FXCM employment agreement.

Under these services agreements Effex would remit payments to FXCM disguised as “order

flow.” These payments were a complete sham as they were intended merely to approximate

Effex’s profits and losses from trading against FXCM customers on FXCM’s platform, and no

other market makers ever paid FXCM for order flow.

       98.    Under Niv’s direction, FXCM allowed Effex to use FXCM’s prime brokerage

relationship with Citi, which Effex could not attain on its own. After being spun off as a

“separate” entity, Effex still operated from FXCM’s offices in New York for a full year after

Dittami’s resignation from FXCM. For a period of time Effex even used FXCM’s servers and

email systems, and two FXCM employees spent significant portions of their time assisting Effex.

All of these benefits were unique to Effex among FXCM’s market makers.

       99.    For a period of time, Effex reported its P&L directly to FXCM. Part of FXCM’s

monthly preliminary P&L statement would take Effex’s monthly P&L and simply subtract 30

percent. As CFO, Lande was well aware of this method of calculation, and that the invoices

FXCM sent Effex described the amounts billed as “P&L.” Furthermore, on FXCM’s direction,




                                              25
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 27 of 57




Effex made these payments to FXCM Holdings (who was not regulated by the NFA) rather than

FXCM’s U.S. subsidiary in order to avoid the NFA’s scrutiny. These highly unusual payments

would have raised a red flag for Lande as CFO.

       100.    Given all the unique advantages FXCM afforded Effex, Effex dominated

FXCM’s daily order flow to the point that it captured nearly 80% of it. FXCM’s management,

including Niv, knew that number was too high to maintain the intended illusion that Effex was a

legitimate market maker, so they directed Effex to limit itself to only half of the order flow to

avoid raising suspicions.

       101.    Defendants’ knowledge and involvement with the fraudulent scheme is also

evidenced by their efforts to cover it up. In October 2013, the NFA met with FXCM executives

in connection with the NFA’s 2013 examination of FXCM’s relationship with Effex. Answering

questions at this meeting, Niv entirely failed to disclose the true nature of FXCM’s relationship

with Effex and Dittami.

       102.    Niv also participated in and approved of FXCM’s false responses to the NFA’s

investigation, including a series of misstatements FXCM employees told to the NFA. These false

statements concealed FXCM’s undisclosed interest in Effex, muddied the NFA’s attempts to

clarify the FXCM-Effex relationship, and downplayed Dittami’s role with FXCM and Effex.

      DEFENDANTS’ MATERIALLY FALSE AND MISLEADING STATEMENTS
             MADE TO INVESTORS DURING THE CLASS PERIOD

                 Defendants’ False and Misleading Class Period SEC Filings

       103.    The following periodic reports filed with the SEC by FXCM during the Class

Period contained materially false and misleading statements. The reasons why each of these

statements were false and misleading are explained in the subsequent sections.




                                                 26
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 28 of 57




       104.   The Class Period Begins on March 15, 2012, when the Company filed an annual

report on Form 10-K with the SEC announcing the Company’s financial and operating results for

the fiscal year ended December 31, 2011 (the “2011 10-K”). Defendants Niv, Ahdout, and

Lande signed the 2011 10-K.

       105.   On May 10, 2012, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended March 31,

2012 (the “12Q1 10-Q”). Defendants Niv and Lande signed the 12Q1 10-Q.

       106.   On August 9, 2012, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended June 30,

2012 (the “12Q2 10-Q”). Defendants Niv and Lande signed the 12Q2 10-Q.

       107.   On November 9, 2012, the Company filed a quarterly report on Form 10-Q with

the SEC announcing the Company’s financial and operating results for the quarter ended

September 30, 2012 (the “12Q3 10-Q”). Defendants Niv and Lande signed the 12Q3 10-Q.

       108.   On March 18, 2013, the Company filed an annual report on Form 10-K with the

SEC announcing the Company’s financial and operating results for the fiscal year ended

December 31, 2012 (the “2012 10-K”). Defendants Niv, Ahdout, and Lande signed the 2012 10-

K.

       109.   On May 10, 2013, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended March 31,

2013 (the “13Q1 10-Q”). Defendants Niv and Lande signed the 13Q1 10-Q.

       110.   On August 8, 2013, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended June 30,

2013 (the “13Q2 10-Q”). Defendants Niv and Lande signed the 13Q2 10-Q.




                                             27
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 29 of 57




       111.   On November 12, 2013, the Company filed a quarterly report on Form 10-Q with

the SEC announcing the Company’s financial and operating results for the quarter ended

September 30, 2013 (the “13Q3 10-Q”). Defendants Niv and Lande signed the 13Q3 10-Q.

       112.   On March 17, 2014, the Company filed an annual report on Form 10-K with the

SEC announcing the Company’s financial and operating results for the fiscal year ended

December 31, 2013 (the “2013 10-K”). Defendants Niv, Ahdout, and Lande signed the 2013 10-

K.

       113.   On May 12, 2014, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended March 31,

2014 (the “14Q1 10-Q”). Defendants Niv and Lande signed the 14Q1 10-Q.

       114.   On August 8, 2014, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended June 30,

2014 (the “14Q2 10-Q”). Defendants Niv and Lande signed the 14Q2 10-Q.

       115.   On November 7, 2014, the Company filed a quarterly report on Form 10-Q with

the SEC announcing the Company’s financial and operating results for the quarter ended

September 30, 2014 (the “14Q3 10-Q”). Defendants Niv and Lande signed the 14Q3 10-Q.

       116.   On March 16, 2015, the Company filed an annual report on Form 10-K with the

SEC announcing the Company’s financial and operating results for the fiscal year ended

December 31, 2012 (the “2014 10-K”). Defendants Niv, Ahdout, and Lande signed the 2014 10-

K.

       117.   On May 11, 2015, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended March

31,2015 (the “15Q1 10-Q”). Defendants Niv and Lande signed the 15Q1 10-Q.




                                            28
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 30 of 57




       118.   On August 7, 2015, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended June 30,

2015 (the “15Q2 10-Q”). Defendants Niv and Lande signed the 15Q2 10-Q.

       119.   On November 6, 2015, the Company filed a quarterly report on Form 10-Q with

the SEC announcing the Company’s financial and operating results for the quarter ended

September 30, 2015 (the “15Q3 10-Q”). Defendants Niv and Lande signed the 15Q3 10-Q.

       120.   On March 11, 2016, the Company filed an annual report on Form 10-K with the

SEC announcing the Company’s financial and operating results for the fiscal year ended

December 31, 2015 (the “2015 10-K”). Defendants Niv, Ahdout, and Lande signed the 2015 10-

K.

       121.   On May 6, 2016, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended March 31,

2016 (the “16Q1 10-Q”). Defendants Niv and Lande signed the 16Q1 10-Q.

       122.   On August 5, 2016, the Company filed a quarterly report on Form 10-Q with the

SEC announcing the Company’s financial and operating results for the quarter ended June 30,

2016 (the “16Q2 10-Q”). Defendants Niv and Lande signed the 16Q2 10-Q.

       123.   On November 8, 2016, the Company filed a quarterly report on Form 10-Q with

the SEC announcing the Company’s financial and operating results for the quarter ended

September 30, 2016 (the “16Q3 10-Q”). Defendants Niv and Lande signed the 16Q3 10-Q.

       124.   On November 18, 2016, the Company filed an amended quarterly report on Form

10-Q/A with the SEC amending the Company’s financial and operating results for the quarter

ended September 30, 2016. Defendants Niv and Lande signed the 16Q3 10-Q/A.




                                            29
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 31 of 57




  Defendants Made False and Misleading Statements and Violated GAAP by Failing to
 Consolidate and Disclose the Nature of its Relationship with Effex, or Failing to Disclose
                          Material Related Party Transactions

       125.    GAAP constitute those standards recognized by the accounting profession as the

conventions, rules, and procedures necessary to define accepted accounting practices at a

particular time.

       126.    GAAP are the common set of accounting principles, standards, and procedures

that companies in the United States use to compile their financial statements.

       127.    The SEC has the statutory authority for the promulgation of GAAP for public

companies and has delegated that authority to the Financial Accounting Standards Board (the

“FASB”).

       128.    SEC, NYSE, and NASDAQ rules and regulations require that publicly traded

companies such as FXCM include financial statements that comply with GAAP in their annual

and quarterly reports filed with the SEC. See Section 13 of the Exchange Act; SEC Rule 10-

01(d) of Regulation S-X (“Reg. S-X”).

       129.    SEC Rule 4-01(a) of Reg. S-X states that “[f]inancial statements filed with the

Commission which are not prepared in accordance with generally accepted accounting principles

will be presumed to be misleading or inaccurate.” 17 C.F.R. § 210.4-01(a)(1) (emphasis added).

       130.    Management retains responsibility for preparing financial statements that conform

with GAAP. The American Institute of Certified Public Accountants (“AICPA”) Professional

Standards provide:

       The financial statements are management’s responsibility . . . Management is
       responsible for adopting sound accounting policies and for establishing and
       maintaining internal controls that will, among other things, record, process,
       summarize, and report transactions (as well as events and conditions) consistent
       with management’s assertions embodied in the financial statements. The entity’s
       transactions and the related assets, liabilities, and equity are within the direct



                                                30
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 32 of 57




         knowledge and control of management. . . . Thus, the fair presentation of financial
         statements in conformity with generally accepted accounting principles is an
         implicit and integral part of management’s responsibility.

AIPCA, Professional Standards, vol. 1, AU § 110.02 (1998).

           Defendants Made False and Misleading Statements and Violated GAAP
                     Because FXCM Failed to Disclose Effex as a VIE

         131.   GAAP requires reporting entities to consolidate and make disclosures about

certain entities that are determined to be Variable Interest Entities (“VIEs”). ASC 810,

Consolidation. An entity is a VIE when one or more of several criteria are met, including, among

others, (1) when the nominal owners of the entity are unable to make decisions about the entity’s

activities that have a significant effect on the success of the entity, and (2) when the nominal

owners do not fully participate in the entity’s residual returns. ASC 810-10-15-14. A reporting

entity is required to consolidate a VIE if that entity has a variable interest that will absorb the

majority of the VIE’s expected losses, receive the majority of the VIE’s expected returns, or

both. ASC 810-25-38. This entity is known as the primary beneficiary. Due to their profit-

sharing relationship, Effex was a VIE and FXCM was the primary beneficiary with regard to

Effex.

         132.   Effex meets both of the criteria referred to in the preceding paragraph. Effex was

dependent on FXCM for its business and subject to FXCM’s determination as to whether its

customers would be directed to book trades through Effex. Additionally, by agreement, FXCM

received 70% of Effex’s profits.

         133.   Because FXCM received the majority of Effex’s profits, it was the primary

beneficiary of Effex’s business and was required to consolidate Effex on FXCM’s consolidated

financial statements. FXCM was also therefore required to report a non-controlling interest




                                                 31
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 33 of 57




related to Effex held by Dittami on its consolidated statements of condition, operations, and

comprehensive income. FXCM did neither.

       134.   As the primary beneficiary, FXCM was required to make certain disclosures

about the consolidated entity, including the nature, purpose, size and activities of the VIE. ASC

810-10-50-3. FXCM was also required to disclose the methodology for determining that Effex is

a VIE and is being consolidated.

       135.   FXCM failed to consolidate Effex on FXCM’s financial statements and failed to

make disclosures about Effex, as a VIE, that were required by GAAP. Each of FXCM’s 2011 10-

K, 12Q1 10-Q, 12Q2 10-Q, 12Q3 10-Q, 2012 10-K, 13Q1 10-Q, 13Q2 10-Q, 13Q3 10-Q, 2013

10-K, 14Q1 10-Q, 14Q2 10-Q, 14Q3 10-Q, 2014 10-K, 15Q1 10-Q, 15Q2 10-Q, 15Q3 10-Q,

2015 10-K, 16Q1 10-Q, 16Q2 10-Q, 16Q3 10-Q and 16Q3 10-Q/A contained financial

statements for FXCM that Defendants stated were prepared according to GAAP.

       136.   The preceding periodic reports filed with the SEC during the Class Period were

materially false misleading because: (a) Effex was a Variable Interest Entity (“VIE”) and FXCM

was required to, but did not, disclose Effex and details about its relationship with FXCM

including the nature, purpose, size and activities of Effex and the methodology for determining

that Effex was a VIE; (b) FXCM was required to consolidate Effex’s financial results with

FXCM’s but failed to do so; and (c) as a result FXCM’s financial statements did not comply with

GAAP and were false when made.

In the Alternative, Defendants Made False and Misleading Statements and Violated GAAP
     Because Effex was a Related Party and FXCM Failed to Disclose Its Related Party
                                 Transactions With Effex

       137.   Even if FXCM were not required to consolidate Effex’s financial results with its

own as a VIE, Effex would still be considered a related party to FXCM, requiring FXCM to




                                               32
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 34 of 57




disclose the material transactions between FXCM and Effex in FXCM’s financial statements and

proxy statements.

       138.    GAAP required the Company to disclose all material related party transactions.

       139.    ASC 850, Related Parties, provides that a public company’s “[f]inancial

statements shall include disclosures of material related party transactions.” ASC 850-10-50-1.

       140.    “Related party transactions” include those between “an enterprise and its principal

owners, management, or members of their immediate families” and those between a company

and its “affiliates.” ASC 850-10-05-3. “Affiliate” includes any company that, directly or

indirectly through one or more intermediaries, controls, is controlled by, or is under common

control with an enterprise. ASC 850-10-20.

       141.    Disclosures of related party transactions shall include: (a) the nature of the

relationship involved, (b) a description of the transactions for each period for which income

statements are presented and such other information necessary to an understanding of the effects

of the transactions on the financial statements, (c) the dollar amount of transactions for each of

the periods for which income statements are presented, and (d) amounts due from or to related

parties as of the date of each balance sheet presented and, if not otherwise apparent, the terms

and manner of settlement. ASC 850-10-50-1.

       142.    Effex was an affiliate of, and thus a related party to, FXCM. As noted herein: (a)

Effex was founded for the purpose of creating the appearance of an independent company under

the direction of FXCM; (b) Effex was funded by an interest-free loan by FXCM; (c) Effex was

required to turn over 70% of its profits to FXCM; (d) Effex operated out of FXCM’s offices rent-

free; (e) certain FXCM employees worked the majority of their time for Effex; (f) all of Effex’s

business and revenue was either generated through FXCM or was dependent on FXCM to




                                               33
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 35 of 57




provide the pricing and transaction data to engage in its business; and (g) FXCM paid bonuses

to its employees who assisted Effex on account of their work for Effex. These facts demonstrate

that Effex was controlled by FXCM, and therefore was an affiliate of, and related party to,

FXCM.

       143.    Additionally, the related party transactions were material, as Effex paid FXCM

nearly $80 million between 2010 and 2014 alone.

       144.    Each of FXCM’s 2011 10-K, 12Q1 10-Q, 12Q2 10-Q, 12Q3 10-Q, 2012 10-K,

13Q1 10-Q, 13Q2 10-Q, 13Q3 10-Q, 2013 10-K, 14Q1 10-Q, 14Q2 10-Q, 14Q3 10-Q, 2014 10-

K, 15Q1 10-Q, 15Q2 10-Q, 15Q3 10-Q, 2015 10-K, 16Q1 10-Q, 16Q2 10-Q, 16Q3 10-Q and

16Q3 10-Q/A contained financial statements for FXCM that Defendants stated were prepared

according to GAAP.

       145.    The preceding periodic reports filed with the SEC during the Class Period were

materially false misleading because Effex was a related party and FXCM was required to, but did

not, disclose its material transactions with Effex including: (a) a description of the transactions

for each period for which income statements are presented and such other information necessary

to an understanding of the effects of the transactions on the financial statements, (b) the dollar

amount of transactions for each of the periods for which income statements are presented, and (c)

amounts due from or to Effex as of the date of each balance sheet presented and, if not otherwise

apparent, the terms and manner of settlement. See ASC 850-10-50-1.




                                                34
       Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 36 of 57




                 Defendants Falsely Claim that Their Agency Model is Conflict-Free
                                    in Class Period SEC Filings

          146.     The following statement, or one substantially similar to it5, was contained in

FXCM’s 2011 10-K, 2012 10-K, 2013 10-K, 2014 10-K and 2015 10-K:

          We primarily offer our customers what is referred to as an agency model to
          execute their trades. Our agency model is fundamental to our core business
          philosophy because we believe that it aligns our interests with those of our
          customers and reduces our risks. In the agency model, when our customer
          executes a trade on the best price quotation offered by our FX market makers, we
          act as a credit intermediary, or riskless principal, simultaneously entering into
          offsetting trades with both the customer and the FX market maker. We earn
          trading fees and commissions by adding a markup to the price provided by the FX
          market makers and generate our trading revenues based on the volume of
          transactions and the spread earned on transactions.

          147.     These statements are false and misleading. The first sentence is false and

misleading because FXCM did not primarily offer its customers an agency model due to its

relationship with Effex. The second sentence is false and misleading because the agency model

did not, and Defendants did not believe it to, align FXCM’s interests with its customers’ interests

nor reduce FXCM’s risks. By way of FXCM’s relationship with Effex, Defendants knew that

FXCM’s interests were actually opposed to its customers’ interests and FXCM was exposed to

the risks of having a stake in the transactions between customers and Effex. They knew this

because Niv and Ahdout, along with others at FXCM, devised the plan to develop a trading

algorithm to secretly trade against FXCM’s retail customers on the NDD platform, hired Dittami

for that purpose, then ostensibly spun off Effex while secretly maintaining their financial

relationship with Dittami and providing Effex with unique trading advantages. In exchange,

FXCM received payments meant to approximate 70% of Effex’s profits from trading against

FXCM’s customers on NDD’s “agency model” platform. The third and fourth sentences are false

5
    A table setting forth the exact quotes from each filing is attached hereto as Exhibit 3.



                                                   35
       Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 37 of 57




and misleading because, due to its relationship with Effex, FXCM was not using an agency

model and was not acting solely as a credit intermediary or riskless principal. Similarly, the

statements omit that on top of trading fees and commissions, FXCM was earning kickback

payments from Effex that were tied directly to Effex’s trading profits and losses.

          148.   The following statement, or one substantially similar to it6, was contained in

FXCM’s 2011 10-K, 12Q1 10-Q, 12Q2 10-Q, 12Q3 10-Q, 2012 10-K, 13Q1 10-Q, 13Q2 10-Q,

13Q3 10-Q, 2013 10-K, 14Q1 10-Q, 14Q2 10-Q, 14Q3 10-Q and 2014 10-K: “Retail trading

revenue is our largest source of revenue and is primarily driven by: ... (iv) the amount of

additional retail revenues earned, including … payments we receive for order flow from FX

market makers.”

          149.   These statements are false and misleading because FXCM did not receive

payments for order flow from any market makers, much less multiple market makers. To the

extent it received “order flow” payments from Effex, those payments were not for order flow but

rather an approximation of 70% of Effex’s profits and losses from its trades on the FXCM

platform.

          150.   The following statement, or one substantially similar to it7, was contained in

FXCM’s 12Q1 10-Q, 12Q2 10-Q, 12Q3 10-Q, 2012 10-K, 2013 10-K and 2014 10-K:

          Income earned on order flow represents payments received from certain FX
          market makers in exchange for routing trade orders to these firms for execution.
          The Company’s order routing software ensures that payments for order flow do
          not affect the routing of orders in a manner that is detrimental to its retail
          customers.




6
    See Exhibit 3.
7
    See Exhibit 3.



                                                36
        Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 38 of 57




          151.   The first statement is false and misleading because FXCM did not receive

payments for order flow from any market makers. To the extent it received “order flow”

payments from Effex, those payments were not for order flow but rather an approximation of

70% of Effex’s profits and losses from its trades on the FXCM platform. The second statement is

misleading because FXCM engaged in various practices designed to favor Effex over other

market makers and give Effex advantages that were detrimental to FXCM’s retail customers.

Namely, FXCM (1) permitted Effex to win all “ties” with other market makers; (2) provided

Effex with a real-time view of price quotations offered by other market makers; (3) added

smaller markups to Effex’s prices than to prices provided by other market makers; (4) allowed

Effex to use a hold timer and a “previous quote” practice; and (5) allowed Effex access to

FXCM’s internal servers.

          152.   The following statement, or one substantially similar to it8, was contained in

FXCM’s 2011 10-K, 12Q2 10-Q and 12Q3 10-Q: “We earn trading fees and commissions by

adding a markup to the price provided by the FX market makers and generate our trading

revenues based on the volume of transactions, not trading profits or losses.”

          153.   The first statement is false and misleading because FXCM did not primarily offer

its customers agency execution due to its relationship with Effex. The second statement is false

and misleading because the statements fail to disclose that on top of trading fees and

commissions, FXCM was earning kickback payments from Effex that were tied directly to

Effex’s trading profits and losses. Omitting these kickback payments misled investors as to the

source of FXCM’s revenues.

          154.   The following statements were contained in FXCM’s 12Q2 10-Q:


8
    See Exhibit 3.



                                                37
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 39 of 57




       We intend to launch an initiative to offer our smaller retail clients the option to
       trade with a dealing desk, or principal model … As a result, we may incur trading
       losses using principal model execution from changes in the prices of currencies
       where we are not hedged.

       155.    These statements were false and misleading because FXCM was already offering

a principal model to its unsuspecting retail clients due to its relationship with Effex. Thus it was

already facing the risk of trading losses.

       156.    The following statements were contained in FXCM’s 12Q2 10-Q, 2013 10-K,

2014 10-K and 2015 10-K:

       [A]s we have for a number of years conducted our retail operations on the basis of
       the agency model, we could suffer reputational damage and additional regulatory
       scrutiny by offering execution to retail clients that creates an inherent conflict
       between the interests of the customer and our interests.

       157.    These statements were false because FXCM had not been conducting its retail

operations on the agency model since it launched the trading algorithm in 2009 that was later

spun off into Effex. FXCM was already risking reputational damage and regulatory scrutiny

through its relationship with Effex, which in FXCM’s own words “creates an inherent conflict

between the interests of the customer and our interests.”

       158.    The following statement was contained in FXCM’s 2012 10-K: “our commitment

to the agency model is one example of our core business philosophy to reduce risks.”

       159.    This statement was false and misleading because FXCM was not committed to the

agency model or reducing associated risks due to its relationship with Effex.

       160.    The following statement was contained in FXCM’s 13Q1 10-Q, 13Q2 10-Q,

13Q3 10-Q, 14Q1 10-Q, 14Q2 10-Q, and 14Q3 10-Q: “As we predominantly operate our retail

business on an agency model with the exception of certain trades of our CFD customers we are

not exposed to the market risk of a position moving up or down in value.”




                                                38
        Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 40 of 57




          161.       This statement was false and misleading because FXCM did not predominantly

operate its retail business on an agency model due to its relationship with Effex. Accordingly,

FXCM was in fact exposed to the market risks it described.

          162.       The following statement was contained in FXCM’s 14Q3 10-Q and 2014 10-K:

the Company “no longer receive[d] payments for order flow.”

          163.       This statement was false and misleading because FXCM had not been receiving

payments for order flow. To the extent it had received “order flow” payments from Effex, those

payments were not for order flow but rather an approximation of 70% of Effex’s profits and

losses from its trades on the FXCM platform.

          Defendants Fail to Disclose Ongoing Regulatory Inquiries Concerning Effex,
          Rendering Their Class Period SEC Filings Materially False and Misleading

          164.       The following statement, or one substantially similar to it9, was contained in

FXCM’s 13Q3 10-Q, 2013 10-K, 14Q1 10-Q, 14Q2 10-Q, 14Q3 10-Q, 2014 10-K, 15Q1 10-Q,

15Q2 10-Q, 15Q3 10-Q, 2015 10-K, 16Q1 10-Q, and 16Q2 10-Q: “our business is also subject to

extensive regulation, which may result in administrative claims, investigations and regulatory

proceedings against us.”

          165.       These statements were false and misleading because at the time these statements

were made, Defendants knew, but failed to disclose, that FXCM was currently under

investigation by the CFTC and NFA for its relationship with Effex. By saying that the

Company’s operations may result in investigations and regulatory proceedings, Defendants

created the false and misleading impression that the Company was not currently under regulatory




9
    See Exhibit 3.



                                                    39
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 41 of 57




investigations – investigations which portended, and ultimately resulted in, a material impact on

FXCM’s business.

       166.    Defendants were on notice of the CFTC investigation by at least October 15,

2014, upon receipt of the CFTC’s Request for Production of Documents, or alternatively by July

2, 2015, upon receipt of the CFTC Preservation Notice. Defendants were on notice of the NFA

investigation by at least October 24, 2013, when NFA compliance staff met with FXCM

executives and asked questions about FXCM’s relationship with Effex, or by February 19, 2015,

upon receipt of the NFA Preservation Notice. At the very latest, Defendants knew of the CFTC’s

investigation by at least September 18, 2015, when counsel for FXCM signed the Tolling

Agreement.

       167.    Defendants failed to disclose the CFTC and NFA investigations in any manner

until FXCM filed its 16Q3 10-Q. The 16Q3 10-Q and 16Q3 10-Q/A contained the following

statement: “The CFTC and the NFA are currently examining the relationship with US [FXCM’s

United States subsidiary] and one of its liquidity providers.”

       168.    These statements were misleading because they significantly underplayed the

extent of the CFTC and NFA’s investigations into FXCM’s relationship with Effex, which

threatened and resulted in a material impact on FXCM’s business. FXCM had already signed the

Tolling Agreement by this point, so it knew that it was facing a high likelihood of imminent legal

action from the regulators, far beyond a mere “examin[ation.]”

         Niv and Lande Sign Materially False and Misleading S-OX Certifications

       169.    Each of FXCM's 2011 10-K, 12Q1 10-Q, 12Q2 10-Q, 12Q3 10-Q, 2012 10-K,

13Q1 10-Q, 13Q2 10-Q, 13Q3 10-Q, 2013 10-K, 14Q1 10-Q, 14Q2 10-Q, 14Q3 10-Q, 2014 10-

K, 15Q1 10-Q, 15Q2 10-Q, 15Q3 10-Q, 2015 10-K, 16Q1 10-Q, 16Q2 10-Q, 16Q3 10-Q and




                                                40
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 42 of 57




16Q3 10-Q/A also included Sarbanes-Oxley Act of 2002 (“SOX”) certifications signed by

Defendants Niv and Lande attesting to the accuracy of the respective filings, certifying that “this

report does not contain any untrue [or misleading] statement of a material fact,” and certifying

that Niv and Lande each disclosed "[a]ny fraud, whether or not material" to FXCM's auditor and

audit committee.

         170.   These S-OX certifications were materially false and misleading because the

accompanying financial statements were not accurate. The accompanying financial statements

were not accurate because they each failed to either (1) disclose Effex as a VIE, consolidate

Effex’s financial statements with FXCM’s and disclose details about Effex’s relationship with

FXCM; or (2) disclose Effex as a related party and disclose FXCM’s material transactions with

Effex.

         171.   These S-OX certifications were also materially false and misleading because each

of the reports contained other false and misleading statements of material fact, as detailed in

paragraphs 146-168.

         172.   These S-OX certifications were also materially false and misleading because Niv

and Lande did not disclose all fraud. Niv and Lande did not disclose all fraud because they failed

to disclose that: (1) from September 4, 2009 through at least 2014, FXCM engaged in false and

misleading solicitations of its retail foreign exchange customers by concealing its relationship

with its most important market maker, Effex, and misrepresented that its NDD platform had no

conflicts of interest with its customers; (2) FXCM was secretly profiting from taking positions

opposite its customers on its NDD platform through its arrangement with Effex; (3) the

accompanying financial statements were false as they failed to consolidate Effex or failed to

disclose material related party transactions involving Effex; and (4) as a result, Defendants'




                                                41
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 43 of 57




statements about FXCM's business, operations and prospects were materially false and

misleading and/or lacked a reasonable basis at all relevant times.

                                         The FXCM Notes

       173.    On May 29, 2013, the Company issued a press release announcing the pricing of

the FXCM Notes, and on June 3, 2013, the Company filed a Form 8-K detailing the sale of the

FXCM Notes (the “June 3, 2013 8-K”), stating in part:

       Item 1.01       Entry into a Material Definitive Agreement.

       Purchase Agreement

       On May 28, 2013, FXCM, Inc. (the “Company”) entered into a purchase
       agreement (the “Purchase Agreement”) with Credit Suisse Securities (USA) LLC
       and Merrill Lynch, Pierce, Fenner & Smith Incorporated, as representatives of the
       several purchasers named in Schedule A thereto (the “Initial Purchasers”),
       pursuant to which the Company agreed to sell $150.0 million aggregate principal
       amount of 2.25% Convertible Senior Notes due 2018 (the “Firm Notes”) and, at
       the option of the Initial Purchasers, up to an additional $22.5 million aggregate
       principal amount of 2.25% Convertible Senior Notes due 2018 (the “Option
       Notes” and, together with the Firm Notes, the “Notes”).

       On May 30, 2013, the Initial Purchasers exercised their option in full in respect of
       the Option Notes. On June 3, 2013, the Company issued and sold to the Initial
       Purchasers $172.5 million aggregate principal amount of the Notes upon payment
       pursuant to the Purchase Agreement.

       174.    Attached as Exhibit 10.1 to the June 3, 2013 8-K was the Purchase Agreement,

which details the sale of the FXCM Notes. The S-OX certifications contained in the June 3, 2013

Purchase Agreement were signed by Defendants Niv and Lande and attested to the accuracy of

financial reporting, the disclosure of any material changes to the Company’s internal control over

financial reporting and the disclosure of all fraud.

       175.    These S-OX certifications were materially false and misleading because the

accompanying financial statements were not accurate. The accompanying financial statements

were not accurate because they each failed to either (1) disclose Effex as a VIE, consolidate



                                                 42
      Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 44 of 57




Effex’s financial statements with FXCM’s and disclose details about Effex’s relationship with

FXCM; or (2) disclose Effex as a related party and disclose FXCM’s material transactions with

Effex.

         176.   These S-OX certifications were also materially false and misleading because Niv

and Lande did not disclose all fraud. Niv and Lande did not disclose all fraud because they failed

to disclose that: (1) from September 4, 2009 through at least 2014, FXCM engaged in false and

misleading solicitations of its retail foreign exchange customers by concealing its relationship

with its most important market maker, Effex, and misrepresented that its NDD platform had no

conflicts of interest with its customers; (2) FXCM was secretly profiting from taking positions

opposite its customers on its NDD platform through its arrangement with Effex; (3) the

accompanying financial statements were false as they failed to consolidate Effex or failed to

disclose material related party transactions involving Effex; and (4) as a result, Defendants'

statements about FXCM's business, operations and prospects were materially false and

misleading and/or lacked a reasonable basis at all relevant times.

 Defendants’ False Statements About FXCM’s Agency Model Across Different Platforms
              Further Demonstrates its Importance to FXCM’s Operations

         177.   FXCM’s misrepresentations concerning its NDD execution or agency model

extended beyond its public SEC filings, encompassing a broad strategy of deceiving both

potential clients and investors with public false and misleading claims on its website and

advertising.

         178.   In January 2012, FXCM provided a downloadable trading guide on its website,

including two videos claiming to show the difference between FXCM’s NDD execution model

and      a   dealing   desk    model     used    by    FXCM’s        competitors.   Available   at

https://web.archive.org/web/20120104211055/http://www.fxcm.com/fxcm-forex-execution.jsp.



                                                43
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 45 of 57




       179.    One year later in January 2013, FXCM flaunted the “Major Benefits” for clients

using its NDD execution model, including claims of “Fair and transparent order execution” and

“No conflict of interest between broker and trader.”

       Another advantage of the NDD model is that execution is transparent and fair.
       FXCM does not take a market position-eliminating a major conflict of interest.
       Dealing desk brokers, which act as market makers, may be actively trading
       against your positions. Because of this, they may manipulate your orders with re-
       quotes or in other ways. This cannot happen with our NDD forex execution. Your
       orders automatically fill from the NDD price feed, which is the best bid and best
       ask prices from all of our liquidity providers plus FXCM’s small, fixed mark-up.
       Additionally, your orders are anonymous to the liquidity providers. They cannot
       see your stops, limits, or entry orders; they only see market orders coming from
       FXCM.

Available at https://web.archive.org/web/20130127222625/http://www.fxcm.com/
advantages/forex-execution/no-dealing-desk

       180.    These misleading statements continued into January 2014, where FXCM

continued to promote its NDD execution as a conflict-free platform.

       FXCM can see your waiting orders when you trade with No Dealing Desk
       execution. But this does not create a conflict of interest between you and FXCM
       because we aren’t taking a market position. When you place an order with
       FXCM, we place an identical order to yours with our liquidity providers.

       Our liquidity providers only see market orders coming from FXCM. They do not
       see orders coming from you, and they cannot see your waiting orders (stops,
       limits, entry orders). So your trading is anonymous with our liquidity providers
       under the No Dealing Desk model.

Available at https://web.archive.org/web/20130205185432/http://www.fxcm.com/

advantages/forex-execution/why-execution-matters-faq/

       181.    The following year, FXCM continued to feature its NDD execution platform on

its homepage. Available at https://web.archive.org/web/20150102140639/http://www.fxcm.com/

       182.    In January 2016, FXCM was still promoting its NDD execution on its website,

including claims of price improvements stemming from slippage in the customers’ favor.




                                               44
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 46 of 57




       With NDD, FXCM acts as a price aggregator. We take the best available bid and
       best ask prices from our liquidity providers—global banks, financial institutions
       and other market makers— and stream those prices to your platform. This large,
       diverse group of liquidity providers makes this model special: The more
       advantageous the prices, the more order flow the provider receives. Through
       competition, NDD ensures prices are market-driven and fair.

                Low spreads from liquidity providers1
                Anonymous order execution
                No re-quotes2; no dealer intervention
                No restrictions on the strategies (scalp, trade the news, use any EA)
                Potential Price Improvements on all order types

       183.      In January 2017, FXCM disclosed the identities of its 17 various liquidity

providers, including Effex, but neglected to divulge any details informing clients or investors of

the Company’s unique relationship with Effex. Available at

https://web.archive.org/web/20170120174036/https://www.fxcm.com/why-fxcm/liquidity-

providers/

       184.      The selections above in this section were pulled from FXCM’s website over

various points in time, and most of these misleading claims were found on the Company’s

website at many or all times during the Class Period. FXCM.com, the Company’s public-facing

platform for promoting the Company and its purported NDD execution, was replete with these

and other misleading statements to clients and investors at all times during the Class Period.

       185.      These statements were false and misleading because, due to FXCM’s relationship

with Effex, (1) FXCM was not truly offering NDD execution or an agency model; (2) FXCM did

have a conflict of interest with its retail customers, effectively taking positions against them

through Effex; and (3) customers were not receiving the best prices from market makers due to

FXCM and Effex’s market distortions.

                 Defendants’ Scheme Defrauded Investors As Well As Customers




                                                  45
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 47 of 57




       186.    Although the primary aim of Defendants’ fraudulent scheme was to take

advantage of its retail customers by secretly trading against them via Effex, it had the additional

effect and purpose of significantly misleading investors as well.

       187.    Defendants’ false and misleading statements about the purported agency model

deceived investors as to a material part of the Company’s operations and revenues. For example,

the 2011 10-K noted the huge importance of FXCM’s retail trading operations to the overall

success of the Company, in that the Company’s “retail trading segment accounted for 87.5% of

its total revenues in 2011.”      The Company’s NDD platform, supposedly using “agency

execution,” was similarly vital to FXCM’s retail trading segment. The Company stated in the

2011 10-K that “[a]gency execution represented approximately 86% of our retail trading volume

in 2011.”

       188.    Defendants’ statements about the sham “order flow” payments likewise deceived

investors as the duplicitous payments from Effex totaled nearly $80 million in misattributed

revenue from 2010 to 2014.

       189.    Defendants’ GAAP violations deceived investors because disclosure of FXCM’s

hidden relationship with Effex would have enraged and alienated the Company’s customer base.

The agency model (or the appearance thereof) was “fundamental to our core business

philosophy,” and Defendants knew that FXCM would “suffer reputational damage and additional

regulatory scrutiny” if customers discovered the Company’s “inherent conflict between the

interests of the customer and our interests.”

       190.    Finally, Defendants’ false statements about regulatory investigations deceived

investors because the undisclosed CFTC and NFA investigations threatened the very core of

FXCM’s agency model. When Defendants agreed to give up their U.S. business in order to settle




                                                46
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 48 of 57




the regulatory claims against FXCM – this was the materialization of a serious risk that had been

hidden from investors.

                      PLAINTIFFS’ CLASS ACTION ALLEGATIONS

       191.     Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons and entities who

purchased or otherwise acquired publicly traded FXCM securities, including FXCM Notes and

Class A common stock during Class Period. Excluded from the Class are all (i) Defendants; (ii)

current and former officers, employees, consultants and directors of FXCM and Holdings; (iii)

siblings, parents, children, spouses, and household members of any person excluded under (i)

and (ii); and (iv) any entities affiliated with, controlled by, or more than 5% owned by, any

person excluded under (i) through (iii); and (v) the legal representatives, heirs, successors or

assigns of any person excluded under (i) through (iv).

       192.    The members of the Class are so numerous that joinder of all members is

impracticable. Throughout the Class Period, FXCM securities were actively traded on the NYSE

and/or NASDAQ. While the exact number of Class members is unknown to Plaintiffs at this time

and can be ascertained only through appropriate discovery, Plaintiffs believe that there are

hundreds or thousands of members in the proposed Class. Record owners and other members of

the Class may be identified from records maintained by the Company or its transfer agent and

may be notified of the pendency of this action by mail, using the form of notice similar to that

customarily used in securities class actions.

       193.    Plaintiffs’ claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.




                                                47
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 49 of 57




       194.    Plaintiffs will fairly and adequately protect the interests of the members of the

Class and has retained counsel competent and experienced in class and securities litigation.

Plaintiffs have no interests antagonistic to or in conflict with those of the Class.

       195.    Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

               a.        whether the federal securities laws were violated by Defendants’ acts as

       alleged herein;

               b.        whether statements made by Defendants to the investing public during the

       Class Period misrepresented material facts about the business, operations and

       management of the Company;

               c.        whether the Individual Defendants caused the Company to issue false and

       misleading financial statements during the Class Period;

               d.        whether Defendants acted knowingly or recklessly in issuing false and

       misleading financial statements;

               e.        whether the prices of FXCM securities during the Class Period were

       artificially inflated because of the Defendants’ conduct complained of herein; and

               f.        whether the members of the Class have sustained damages and, if so, what

       is the proper measure of damages.

       196.    A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as

the damages suffered by individual Class members may be relatively small, the expense and

burden of individual litigation make it impossible for members of the Class to redress




                                                  48
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 50 of 57




individually the wrongs done to them. There will be no difficulty in the management of this

action as a class action.

        197.    Plaintiffs will rely, in part, upon the presumption of reliance established by the

fraud-on-the-market doctrine in that:

                a.      Defendants made public misrepresentations or failed to disclose material

        facts during the Class Period;

                b.      the omissions and misrepresentations were material;

                c.      FXCM securities are traded in an efficient market;

                d.      FXCM securities were liquid and traded with moderate to heavy volume

        during the Class Period;

                e.      FXCM was widely followed by professional market analysts that reported

        on the Company and made buy and sell recommendations;

                f.      the misrepresentations and omissions alleged would tend to induce a

        reasonable investor to misjudge the value of FXCM securities; and

                g.      Plaintiffs and members of the Class purchased, acquired and/or sold

        FXCM securities between the time the Defendants failed to disclose or misrepresented

        material facts and the time the true facts were disclosed, without knowledge of the

        omitted or misrepresented facts.

        198.    Based upon the foregoing, Plaintiffs and the members of the Class are entitled to a

presumption of reliance upon the integrity of the market.

        199.    Alternatively, Plaintiffs and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens of the State

of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as Defendants omitted material




                                                49
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 51 of 57




information in their Class Period statements in violation of a duty to disclose such information,

as detailed above.

        200.    Additionally, the FXCM Notes should not have been introduced into the market

because they were objectively unmarketable.          Contrary to the information represented in

FXCM’s SEC filings, FXCM’s U.S. subsidiary engaged in false and misleading solicitations of

its retail forex customers and made false statements to the NFA about its relationship with its

most important market maker. Where, as here, actors introduce an otherwise unmarketable

security into the market by means of fraud, they have effectively manipulated the market.

Accordingly, Plaintiffs and the Class are entitled to a presumption of reliance because they relied

on the integrity of the market rather than on individual fraudulent disclosures.

                                            COUNT I

                Violation of Section 10(b) of The Exchange Act and Rule 10b-5
                  Promulgated Thereunder Against FXCM, Niv and Ahdout

        201.    Plaintiffs repeat and re-allege each and every allegation contained above as if

fully set forth herein.

        202.    This Count, asserted against Defendants FXCM, Niv and Ahdout, is based upon

Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder

by the SEC.

        203.     During the Class Period, Niv and Ahdout, individually and in concert, directly or

indirectly, disseminated or approved the false statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations and failed to

disclose material facts necessary in order to make the statements made, in light of the

circumstances under which they were made, not misleading.

        204.    Defendants violated §10(b) of the 1934 Act and Rule 10b-5 in that they:



                                                50
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 52 of 57




                      Employed devices, schemes and artifices to defraud;

                      Made untrue statements of material facts or omitted to state material facts

                       necessary in order to make the statements made, in light of the

                       circumstances under which they were made, not misleading; or

                      Engaged in acts, practices and a course of business that operated as a fraud

                       or deceit upon Plaintiffs and others similarly situated in connection with

                       their purchases of FXCM securities during the Class Period.

       205.    Defendants acted with scienter in that they knew that the public documents and

statements issued or disseminated in the name of FXCM were materially false and misleading;

knew that such statements or documents would be issued or disseminated to the investing public;

and knowingly and substantially participated, or acquiesced in the issuance or dissemination of

such statements or documents as primary violations of the securities laws. These defendants by

virtue of their receipt of information reflecting the true facts of FXCM, their control over, and/or

receipt and/or modification of FXCM’s allegedly materially misleading statements, and/or their

associations with the Company which made them privy to confidential proprietary information

concerning FXCM, participated in the fraudulent scheme alleged herein.

       206.     These Defendants, who were senior officers and directors of the Company, had

actual knowledge of the material omissions and/or the falsity of the material statements set forth

above, and intended to deceive Plaintiffs and the other members of the Class, or, in the

alternative, acted with reckless disregard for the truth when they failed to ascertain and disclose

the true facts in the statements made by them or other FXCM personnel to members of the

investing public, including Plaintiffs and the Class.




                                                 51
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 53 of 57




       207.    As a result of the foregoing, the market price of FXCM securities was artificially

inflated during the Class Period. In ignorance of the falsity of Defendants’ statements, Plaintiffs

and the other members of the Class directly or indirectly relied on the statements described

above during the Class Period in purchasing FXCM securities at prices that were artificially

inflated as a result of Defendants’ false and misleading statements.

       208.     As a result of the wrongful conduct alleged herein, Plaintiffs and other members

of the Class have suffered damages in an amount to be established at trial.

       209.    By reason of the foregoing, Defendants have violated Section 10(b) of the 1934

Act and Rule 10b-5 promulgated thereunder and are liable to Plaintiffs and the other members of

the Class for substantial damages which they suffered in connection with their purchase of

FXCM securities during the Class Period.

                                            COUNT II

                        Violation of Section 20(a) of The Exchange Act
                              Against the Individual Defendants

       210.    Plaintiffs repeat and re-allege each and every allegation contained in the

foregoing paragraphs as if fully set forth herein.

       211.    During the Class Period, the Individual Defendants participated in the operation

and management of FXCM, and conducted and participated, directly and indirectly, in the

conduct of FXCM’s business affairs. Because of their senior positions, they knew the adverse

non-public information about FXCM’s misstatement of revenue and profit and false financial

statements.

       212.    As officers and/or directors of a publicly owned company, the Individual

Defendants had a duty to disseminate accurate and truthful information with respect to FXCM’s




                                                 52
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 54 of 57




financial condition and results of operations, and to correct promptly any public statements

issued by FXCM which had become materially false or misleading.

        213.   Because of their positions of control and authority as senior officers, the

Individual Defendants were able to, and did, control the contents of the various reports, press

releases and public filings which FXCM disseminated in the marketplace during the Class Period

concerning FXCM’s results of operations. Throughout the Class Period, the Individual

Defendants exercised their power and authority to cause FXCM to engage in the wrongful acts

complained of herein. The Individual Defendants therefore, were “controlling persons” of

FXCM within the meaning of Section 20(a) of the Exchange Act. In this capacity, they

participated in the unlawful conduct alleged which artificially inflated the market price of FXCM

securities.

        214.   The Individual Defendants also culpably participated in the fraudulent scheme.

        215.   As members of FXCM’s senior management (Niv and Lande) and as directors

with access to information regarding FXCM’s day-to-day business (Niv and Ahdout), the

Individual Defendants each had the power and influence to cause FXCM to make the fraudulent

statements detailed herein.

        216.   Niv and Ahdout originated and implemented the fraudulent scheme to secretly

trade against FXCM’s customers on the Company’s “conflict-free” trading platform. They hired

Dittami for that purpose and helped establish Effex, while secretly maintaining FXCM’s profit-

sharing relationship with Dittami and providing Effex with unique trading advantages. They

arranged for FXCM to receive payments disguised as “order flow” meant to approximate 70% of

Effex’s profits from trading against FXCM’s customers on NDD’s “agency model” platform.

Niv also oversaw and participated in FXCM’s untruthful responses to the NFA’s investigation in




                                               53
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 55 of 57




an effort to cover up his fraudulent scheme. Additionally, Niv knew about the CFTC’s request

for documents, the CFTC’s and NFA’s preservation notices, the CFTC’s subpoena of Niv, and

the tolling agreement between FXCM and the CFTC, yet failed to disclose the ongoing CFTC

and NFA investigations into FXCM’s clandestine relationship with Effex.

       217.      Each of the Individual Defendants also personally signed materially false and

misleading SEC filings during the Class Period, including each of the 10-Ks (Niv, Ahdout and

Lande) and 10-Qs (Niv and Lande). Niv and Lande, in their respective roles as CEO and CFO,

both personally signed materially false and misleading S-OX certifications during the Class

Period. The Individual Defendants are responsible for the false and misleading statements made

in the filings they signed.

       218.      By reason of the above conduct, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act for the violations committed by FXCM.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

       a.        Determining that this action is a proper class action, designating Plaintiffs as class

representatives under Rule 23 of the Federal Rules of Civil Procedure and Plaintiffs’ counsel as

Class Counsel;

       b.        Awarding compensatory damages in favor of Plaintiffs and the other Class

members against all Defendants, jointly and severally, for all damages sustained as a result of

Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

       c.        Awarding Plaintiffs and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

       d.        Awarding such other and further relief as the Court may deem just and proper.




                                                  54
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 56 of 57




                                 JURY TRIAL DEMANDED

       Plaintiffs hereby demand a trial by jury.


Dated: April 6, 2018                         Respectfully submitted,

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                                                   55
     Case 1:17-cv-00916-RA-BCM Document 111 Filed 04/06/18 Page 57 of 57




                                      CERTIFICATE OF SERVICE


       I hereby certify that on this 6th day of April 2018, a true and correct copy of the foregoing
SECOND AMENDED CONSOLIDATED SECURITIES CLASS ACTION COMPLAINT was
served by CM/ECF to the parties registered to the Court’s CM/ECF system.




                                              /s/ Phillip Kim
                                              Phillip Kim




                                                56
